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11
12                         UNITED STATES DISTRICT COURT
13                      NORTHERN DISTRICT OF CALIFORNIA
14
15   EXCEL TEST PREP., a California           Case No.
     corporation,
16
                                              COMPLAINT FOR:
17                 Plaintiff,                 (1) BREACH OF CONTRACT;
                                                  AND
18
           v.                                 (2) BREACH OF THE IMPLIED
19                                                COVENANT OF GOOD FAITH
     SCOTTSDALE INSURANCE                         AND FAIR DEALING AND
20
     COMPANY, an Ohio corporation,                BAD FAITH LIABILITY
21
                   Defendant.                 DEMAND FOR JURY TRIAL
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1           Plaintiff Excel Test Prep. (“Excel” or “Plaintiff”), by and through its attorneys
2    of record, complains of Defendant Scottsdale Insurance Company (“Scottsdale” or
3    “Defendant”), as follows:
4                               JURISDICTION AND VENUE
5           1.     This is an action arising under California state law for breach of
6    contract and for breach of covenant of good faith and fair dealing and bad faith
7    liability in an insurance policy.
8           2.     This Court has subject matter jurisdiction over this case pursuant to
9    28 U.S.C. § 1332. There is complete diversity of citizenship between the parties
10   and the amount in controversy exceeds $75,000.00.
11          3.     This Court has personal jurisdiction over Defendant because
12   Defendant consented to jurisdiction in California by the contract at issue herein.
13   Defendant also agreed to perform the contract in California. Finally, Defendant is
14   subject to general jurisdiction in California because it has systematic and
15   continuing business in California.
16          4.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c), in
17   that the claim arises in this judicial district, Defendant transacts business in this
18   judicial district, the injury suffered by Plaintiff took place in this judicial district,
19   and a substantial part of the events giving rise to the claim occurred in this judicial
20   district. Defendant is subject to the general and specific personal jurisdiction of this
21   Court because of its contacts with the State of California.
22                               DIVISIONAL ASSIGNMENT
23          5.     Pursuant to Civil L.R. 3-2(c) and(d), assignment of this action to the
24   Oakland Division is proper in that a substantial part of the events or omissions
25   giving rise to the claims herein occurred in Alameda County, California.
26   ///
27   ///
28   ///
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1                                           PARTIES
2          6.     Plaintiff is a California corporation with its principal place of business
3    in Fremont, California. Plaintiff is a company who offers standardized test
4    preparation services to the public.
5          7.     Plaintiff is informed and believes, and upon such alleges, that
6    Defendant is an Ohio corporation with its principal place of business at 18700
7    North Hayden Road, Suite 150, Scottsdale, AZ 85255.
8                                            FACTS
9          8.     Plaintiff and Defendant entered into a contract for insurance coverage.
10   A true and correct copy of that contract, Policy EKS3243741 (the “Policy”), is
11   attached hereto as Exhibit A. The Policy covers general business and management
12   indemnity in Plaintiff’s operations.
13         9.     Under the Policy, there are two types of claims: “Employment
14   Practices Claims,” and “Third Party Claims.” Under the defined terms in the
15   Policy, the claims at issue here are “Employment Practices Claims” based on
16   alleged “Wrongful Acts.”
17         10.    “Wrongful Acts” is defined under the Policy and specifically lists
18   breach of an implied/express contract. A failure to reimburse business expenses is
19   a breach of an actual/implied employment agreement under California law. Every
20   employment agreement in California incorporates the non-waivable provisions of
21   Cal. Lab. Code § 2802, which requires an employer to reimburse its employees for
22   “necessary expenditures or losses incurred by the employee” while performing his
23   or her job duties. Cal. Lab. Code § 2804 provides that an employee cannot waive
24   this right to be reimbursed for or liable for the cost of doing business. Specifically,
25   it provides that “[a]ny contract or agreement, express or implied, made by any
26   employee to waive the benefits of this article or any part thereof, is null and
27   void….” Cal. Lab. Code § 2804. Therefore, a “Wrongful Act” as defined by the
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1    Policy includes an act that runs afoul of this express/implied employment provision
2    for reimbursement that is created as a matter of California law.
3          11.    There is a $1M limit for loss and $1M for costs and expenses. The
4    retention, or deductible, is $15K. Under “Settlement and Defense,” the policy
5    provides as follows:
6          The Insureds agree not to settle or offer to settle any Claim, incur any
7          Costs, Charges and Expenses or otherwise assume any contractual
8          obligation or admit any liability with respect to any Claim without the
9          prior written consent of the Insurer, such consent not to be unreasonably
10         withheld. The Insurer shall not be liable for any settlement, Costs,
11         Charges and Expenses, assumed obligation or admission to which it has
12         not consented. The Insureds shall promptly send to the Insurer all
13         settlement demands or offers received by any Insured from the
14         claimant(s).
15         12.    The only limitations on the above come in the form of Endorsement
16   17, which limits “wage and hour claims” to an aggregate of $150,000, a retention
17   (deductible) of $25,000, and a deletion of the Settlement Clause. There are no
18   other exclusions or limitations on coverage of “Employment Practices Claims.”
19         13.    In 2019, an individual named Charlie Meas filed a class action lawsuit
20   (“Meas Litigation”) alleging unfair labor practices, which included allegations of
21   failure to properly reimburse employees. A true and correct copy of the Complaint
22   filed in that action is attached hereto as Exhibit B. Plaintiff demanded defense and
23   indemnity from Defendant, which Defendant tendered subject to a reservation of
24   rights, creating Claim Number 01891012 (“Claim”).
25         14.    Defendant did tender a defense but applied a deductible for a “wage
26   and hour” claim under the Policy even though part of the Claim was not a wage and
27   hour claim. See Exhibit A at Endorsement 17.
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1          15.    Ultimately, the Meas Litigation was settled for a total payment of
2    $200,000.00 (“Meas Settlement”). A true and correct copy of the Settlement
3    Agreement is attached hereto as Exhibit C. However, Defendant refused to
4    contribute toward the settlement, contending that the “wage and hour claim” policy
5    limit under Endorsement 17 was $150,000.00 and that the Policy was, therefore,
6    maxed out.
7          16.    While the Meas Litigation did involve wage and hour claims, it also
8    involved non-wage and hour claims. The Complaint in the Meas Litigation alleges
9    in paragraph 24 a failure to reimburse (which constitutes a breach of
10   express/implied contract claim as described above) and realleges it throughout
11   every cause of action. See Exh. B. The Settlement Agreement clearly recites that
12   the payments are being made for claims involving failure to provide
13   reimbursement, which are clearly not wage and hour claims. See Exh. C.
14   Moreover, the evidence will show that the failure to provide reimbursement
15   damages were the lion’s share of the damages model and thus constituted the
16   majority apportionment of the Meas Settlement payment.
17         17.    The limitations of Endorsement 17 apply only to “the payment of
18   wages.” Wages are, by definition, not reimbursements. “Wages” in Endorsement
19   17 is not defined. And the accompanying examples stated under “including, but
20   not limited to,” do not purport to be a definition, but examples of the types of
21   payments that might include wages.
22         18.    As S. Cal. Pizza Co., LLC v. Certain Underwriters at Lloyd’s, London,
23   40 Cal. App. 5th 140, 252 Cal. Rptr. 3d 635 (2019), makes clear, wages are not
24   reimbursements. Therefore, regardless of the illustrative examples in Endorsement
25   17, the term that controls is “wages” and the ordinary meaning of wages does not
26   include reimbursements. See id.
27         19.    Nevertheless, at worst, Endorsement 17—giving effect to the
28   illustrative language regarding “reimbursements”—creates a patent ambiguity as
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1    “wages” and “reimbursements” are diametrically opposed terms. “If the terms of
2    the policy are uncertain or ambiguous, they must be interpreted in the sense in
3    which the insurer believed that the insured understood them at the time the policy
4    was made. This rule, of course, protects the objectively reasonable expectations of
5    the insured.” Maxconn Inc. v. Truck Ins. Exch., 74 Cal. App. 4th 1267, 1273, 88
6    Cal. Rptr. 2d 750, 753 (1999), as modified on denial of reh’g (Oct. 15, 1999).
7          20.    Plaintiff's expectations were clearly that “wage and hour” exclusions
8    and limitations would not apply to things such as reimbursements that, in their
9    ordinary meaning, do not apply to reimbursements. California law construes
10   ambiguities against the drafter, which in this case is Defendant. See, e.g., Graham
11   v. Scissor-Tail, Inc., 28 Cal. 3d 807, 819 n.16, 171 Cal. Rptr. 604, 611, 623 P.2d
12   165, 172 (1981).
13         21.    Therefore, the reimbursement claims and other non-wage claims in the
14   underlying lawsuit should have been covered, with a $15K retention, with an
15   aggregate of $2M, and with the right to settlement language in play. Because the
16   Meas Litigation involved wage claims and non-wage claims that were interrelated,
17   this would trigger the allocation language in the policy that applies for non-wage
18   claims. As stated above, the non-wage claims were the lion’s share of the Meas
19   Settlement payment and thus would be in excess of $75,000.00.
20         22.    Plaintiff has been damaged because Defendant (1) failed to allocate
21   the non-wage claims under the policy as it applies to the difference between the
22   $25K retention and the $15K retention; and (2) failed to make any contribution
23   whatsoever to the Meas Settlement.
24                              FIRST CAUSE OF ACTION
25                                  (Breach of Contract)
26         23.    Plaintiff incorporates by reference the allegations in paragraphs 1-22
27   above as though fully set forth herein.
28         24.    California law applies to the Policy.
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1          25.    As discussed in detail above, Plaintiff can demonstrate that:
2                 (a)    the Policy is a valid and enforceable contract;
3                 (b)    Plaintiff fully performed under the Policy;
4                 (c)    Defendant failed to perform under the Policy; and
5                 (d)    Plaintiff was injured as described above; and
6                 (e)    Plaintiff is therefore entitled to damages in the amount not paid
7    toward the Meas Settlement, which exceeds $75,000.00.
8                              SECOND CAUSE OF ACTION
9           (Breach of the Implied Covenant of Good Faith and Fair Dealing
10                                 and Bad Faith Liability)
11         26.    Plaintiff incorporates by reference the allegations in paragraphs 1-25
12   above as though fully set forth herein.
13         27.    California law applies to the Policy. California imposes an implied
14   covenant of good faith and fair dealing in an insurance contract. At all times
15   relevant herein, Defendant had a duty to act fairly and in good faith with Plaintiff in
16   meeting its responsibilities under the Policy. At all times relevant herein,
17   Defendant knew, or in the exercise of good faith reasonably should have known,
18   that it was obligated to provide Plaintiff with benefits under the Policy and that
19   Plaintiff was legally entitled to recover such benefits under the Policy. Defendant
20   is subject to bad faith liability because it withheld benefits due under the policy,
21   and such withholding was unreasonable and/or without proper cause.
22         28.    Defendant’s bad faith breach of the implied covenant of good faith and
23   fair dealing damaged Plaintiff as outlined above in the amount of unpaid policy
24   benefits toward the Meas Settlement.
25         29.    Plaintiff is also entitled to attorneys’ fees as compensatory damages
26   for the breach under Brandt v. Superior Court, 37 Cal. 3d 813, 817, 210 Cal. Rptr.
27   211, 213, 693 P.2d 796, 798 (1985).
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1          30.      Moreover, Plaintiff seeks punitive damages because Defendant’s
2    conduct was willful and without regard for the rights of Plaintiff.
3                                CONDITIONS PRECEDENT
4          31.      All conditions precedent to the relief requested herein have occurred
5    or have been waived. Further, Plaintiff and Defendant are parties to a tolling
6    agreement making the effective filing date of this Complaint November 20, 2023.
7                                   PRAYER FOR RELIEF
8          WHEREFORE, Plaintiff requests judgment against Defendant as follows:
9          1.       For actual, compensatory, and consequential damages for Defendant’s
10   breach of contract in an amount to be proven at trial, but in excess of $75,000.00;
11         2.       For attorneys’ fees as compensatory damages as outlined above;
12         3.       For punitive damages for Defendant’s conduct;
13         4.       For attorneys’ fees and costs of suit herein;
14         5.       For pre- and post-judgment interest; and
15         6.       For any such other and further relief as the Court may deem just and
16   appropriate.
17
18   Dated: January 2, 2025                   ONE LLP
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                                              By: /s/ Lawence J. Hilton
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                                                  Lawrence J. Hilton
21                                                Attorneys for Plaintiff,
                                                  Excel Test Prep.
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1                              DEMAND FOR JURY TRIAL
2          Plaintiff hereby demands a trial by jury as to all claims and all issues properly
3    triable thereby.
4
5    Dated: January 2, 2025                 ONE LLP
6
                                            By: /s/ Lawence J. Hilton
7
                                                Lawrence J. Hilton
8                                               Attorneys for Plaintiff,
                                                Excel Test Prep.
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